as

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

 

 

WESTERN orvIsIoN
UNITED sTArEs or AMERICA - "l nff§?<_(~»f©
nw w‘i§
V. CASE NO.: 2:05~cv-02188~JPM-tmp

BRYAN CONSTRUCTION COMPANY, lNC.,

PATTON & TAYLOR CONS TRUCTION, CO.,

TAYLOR GARDNER ARCHITECTS, INC.,

LOONEY-RICKS-KISS ARCHITECT, INC.,

RICHARD A. BARRON, THE REAVES F ,

[NC., SMITH ENG]NEER_ING F[RM, INC.,

DAV[D W. MILEM, BELZ / SOUTH BLUFFS,

INC., HT DEVCO, ]_NC. and STEVE BRYAN DEFENDANTS

ORDER GRANTING
MOTION FOR SPECIAL ADMISSION
OF ATTORNEY STEVE H. SMITH
THIS COURT has considered the Motion of Steve H. Smith, a member of the State Bar of
Mississippi, for special admission to represent Defendants, Bryan construction Company, Inc., and Steve
Bryan, in the above-styled matter. Mr. Srnith has met the requirements of L.R. 83.1(b) for special

admission of attorneys The Motion for Special Adrnission is hereby GRANTED.

so omEREDrhis_[`§ day or \Jvi/\“~ ,2005.

/@»»Qm@@il

JUDG JON PHIPPS McCALLA
D STATES DISTRICT .TUDGE

Proposed Order prepared by:

Steve H. Smith, Esq. (MSB #7610)
DunbarMonrne, PLLC

1855 Lakeland Drive, Suite R-201
Jackson, Mississippi 39216
Telephone: 601 .366. 1805
Facsimile: 601 .366. 1 885

ins ;.'c)c;:.'risri‘i entered on the doc:l:ei' sheet in ¢ompiiai':ce

vim sole ss ann/er sam mich cm w q “/C¢ 05

 

 

ESTERN 1

Notice of Distribution

This notice confirms a copy cf the document docketed as number 28 in
case 2:05-CV-02188 Was distributed by faX, mail, or direct printing on
J unc 16, 2005 to the parties listed.

 

Harriett M. Halmon

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Susan Buckingham Reilly

U.S. DEPARTl\/[ENT OF .TUSTICE
950 Pennsylvania Ave., N.W.

Housing and Civil Enfcrcement Secticn
Washington, DC 20530

Smith H. Smith

DUNBAR MONROE,PLLC
1855 Lakeland Drive Suite R-201
Jackson7 MS 39216

Joel E. Roberts

GRAY ROBINSON, P.A.
301 E. Pine Street

Ste. 1400

Orlando, FL 32802--306

Gary A. Vanasek

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Jeffrey D. Keiner

GRAY ROBINSON, P.A.
301 E. Pine Street

Ste. 1400

Orlando, FL 32802--306

Case 2:05-cv-02188-.]PI\/|-tmp Document 28 Filed 06/15/05

Thcmas J. Keary

U.S. DEPARTl\/[ENT OF .TUSTICE

950 Pennsylvania Ave., NW

Housing & Civil Enforcement Section- G S
Washington, DC 20530

Michael S. Maurer

United States Department of Justice Civil Rights Division
950 Pennsylvania Avenue NW

Washington, DC 20530

Theresa L. Kitay
COUGHLIN & KITAY, PC
3091 Hclcomb Bridge Rd.
Ste. A-1

Norcross, GA 30071

Kevin Kijewski

U.S. DEPARTl\/[ENT OF .TUSTICE
950 Pennsylvania Ave., N. W.

Housing and Civil Enfcrcement Secticn
Washington, DC 20530

Honcrable J on McCalla
US DISTRICT COURT

Page 3 of 3 PagelD 43

